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WESTERN DISTRICT 0F TENNESSEE
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UNITED sTATEs or AMERICA W,~;;r .,¢,MDHIS
-vs- Case No. 2:05cr20056-12Ma
TARIUS FREEMAN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 4:15 P.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Tbird Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing

Date: September1,2005 /{QVLW /( §§ WWV

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

 

1If not held immediately upon defendants first appearance, the hearing may be condoned for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1`) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order of Tempr)raryl Deteniion

intent entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

